Case 2:05-cr-20250-.]PI\/| Document 64 Filed 08/29/05 Page 1 of 3 Page|D 75

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

wESTERN DIVISION USAU'; 9 AH 5'h3

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W/D OF WSLHCM

 

 

UNITED STATES OF AMERICA

Plaintiff,

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Criminal N . S__:,:- goafb Ml

(GO-Day Continuance)

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Defendant{s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

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This document entered on the docket sheet in co liance
with Ftu|e 55 and/or 32(|:)) FRCrP on § ',, 5/:03 &§[

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so oRDERED this 26th day of August, 2005.

@M‘OM

 

JO PHIPPS MCCALLA
rI`ED STATES DISTRICT JUDGE

 

Assistant United States Attorney

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Counsel for Defendant(s)

   

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
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ENNESSEE

 
 

 

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Honorable J on McCalla
US DISTRICT COURT

